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                       DEFENDANT’S RESPONSE TO
               PLAINTIFF’S STATEMENT OF MATERIAL FACTS
                 AS TO WHICH THERE IS NO GENUINE ISSUE

                                      Ex. H
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